          Case 1:14-cv-00067-HSO-RHW Document 343 Filed 04/19/16 Page 1 of 5




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                              SOUTHERN DIVISION

     MARIO G. ABADAY                                                          PLAINTIFF

     v.                                                   Civil No.: 1:14cv67-HSO-RHW

     ROYAL HOSPITALITY SERVICES, LLC                                        DEFENDANT

                    ORDER GRANTING PLAINTIFF’S MOTION [341]
                           FOR DEFAULT JUDGMENT

             BEFORE THE COURT is Plaintiff Mario G. Abaday’s Motion [341] for

 Default Judgment against the only remaining Defendant in this civil action, Royal

 Hospitality Services, LLC (“RHS”). RHS has failed to respond to Plaintiff’s Motion

 for Default, filed on February 1, 2016. RHS has been given adequate time to

 respond and has been warned of potential default, but has not retained counsel or

 otherwise participated in this litigation since the Court granted its counsel’s

 Motion to Withdraw on May 19, 2014. After due consideration of the Motion for

 Default Judgment [341], Plaintiff’s proof of damages, the record as a whole, and

 relevant legal authorities, the Court finds that Plaintiff's Motion for Default

 Judgment should be granted and that a Default Judgment should be entered

 against Defendant RHS.

                                      I. BACKGROUND

A.         Factual Background

           Plaintiff is originally from the Philippines. Plaintiff alleges that he was a

victim of labor trafficking when he came to the United States, and worked for RHS

from July to September 2010. Mot. Default J. [288], at 2. Plaintiff has supported
     Case 1:14-cv-00067-HSO-RHW Document 343 Filed 04/19/16 Page 2 of 5




these claims with an affidavit concerning the facts he alleges and damages suffered

[341-1], and has provided an attorney’s affidavit to document attorneys’ fees [342].

Plaintiff seeks liquidated damages in the amount of $9,367.00, unliquidated

damages in the amount of $50,000.00, and attorneys’ fee in the amount of

$11,549.43. Based on this calculation of damages, Plaintiff seeks a default

judgment against RHS for the sum of $70,916.43, plus costs of court and interest.

B.    Procedural History

      On October 28, 2011, Plaintiff and over fifty other foreign nationals claiming

to be victims of labor trafficking filed an original Complaint [1] against Defendants

Michael V. Lombardi, U.S. Opportunities, LLC, RHS, and the Beau Rivage.

Plaintiffs also sued twelve other named Defendants, but later voluntarily dismissed

the claims against those Defendants.

      RHS answered [57] the original Complaint on April 2, 2012, and filed several

other pleadings including a Motion to Dismiss for Lack of Jurisdiction [59] on July

3, 2012, and a Memorandum in Opposition to Plaintiffs’ Motion to Compel Discovery

Responses [131] on May 29, 2013. On February 25, 2014, the Court entered an

Order of Severance [270], finding that although the various plaintiffs’ claims were

superficially similar, “the transactions and occurrences which give rise to their

purported claims are predominantly individualized and will require individualized

proof, both as to liability and damages.” Order of Severance [270], at 2–3.




                                          2
    Case 1:14-cv-00067-HSO-RHW Document 343 Filed 04/19/16 Page 3 of 5




      Following severance, Plaintiff filed an Amended Complaint [271] in this case,

alleging claims against RHS and others for violations of the Trafficking Victims

Protection Reauthorization Act, 18 U.S.C. §§ 1589–90, 1594–95 (“TVPRA”), and the

Fair Labor Standards Act, 29 U.S.C. § 207(a) (“FLSA”). Less than one month after

the Amended Complaint was filed, counsel for RHS moved the Court for permission

to withdraw, claiming that RHS had failed to pay legal fees and that counsel had

been “unable to locate the Defendant.” Mot. to Withdraw [274]. The Magistrate

Judge granted the Motion to Withdraw and permitted RHS “until June 20, 2014, to

have new counsel enter an appearance on its behalf, failing which this Defendant is

warned that it may be subject to sanctions up to and including default judgment.”

Order Granting Mot. to Withdraw [276]. Since the time of its counsel’s withdrawal

in this matter, RHS has failed to retain new counsel or respond to any pleadings.

      Plaintiff’s claims against all other Defendants have been dismissed, and on

December 18, 2015, the Court directed Plaintiff to submit a Motion for Default

Judgment containing an individualized calculation of money damages based on

record evidence. Order [340]. The Order indicated that responsive pleadings “shall

be filed in accordance with the deadlines contained in the Local Uniform Civil Rules

for the Southern District of Mississippi.” Plaintiff's Motion for Default Judgment

[341], supported by appropriate evidence of damages, was submitted on February 1,

2016. RHS has not responded.




                                         3
    Case 1:14-cv-00067-HSO-RHW Document 343 Filed 04/19/16 Page 4 of 5




                                  II. DISCUSSION

      The Court may enter default judgment pursuant to Federal Rule of Civil

Procedure 55 “when a party against whom a judgment for affirmative relief is

sought has failed to plead or otherwise defend, and that failure is shown by affidavit

or otherwise.” FED. R. CIV. P. 55. Because RHS initially made an appearance in

this action, before the Court may enter a default judgment RHS “must be served

with written notice of the application [for default] at least 7 days before the

hearing.” FED. R. CIV. P. 55(b)(2). The Fifth Circuit has held, however, that “Rule

55(b)(2) does not require the district court to hold either an evidentiary hearing or

oral argument on a motion for a default judgment,” when the party in default has

had “sufficient notice of the possibility that a default judgment would be entered

against them.” Sec. & Exch. Comm’n v. First Fin. Grp. of Texas, Inc., 659 F.2d 660,

669 (5th Cir. 1981).

      More than 14 days have passed since the Motion for Default Judgment was

filed, and RHS was alerted to the possibility of default in this Court’s Order

Directing Plaintiff to File Motion for Default Judgment on December 18, 2015. The

Court finds RHS has been given appropriate notice of Plaintiff’s request for default

judgment and has failed to respond. In light of the evidence on damages submitted

by Plaintiff, which remains unopposed by RHS, the Court finds that a hearing on

damages is not required.




                                           4
     Case 1:14-cv-00067-HSO-RHW Document 343 Filed 04/19/16 Page 5 of 5




      After due consideration of the Motion for Default Judgment, the record, and

relevant legal authorities, the Court finds that Plaintiff’s Motion is well taken and

should be granted. Based on the affidavits submitted and the entire record, the

Court agrees with Plaintiff’s calculation of damages. The Court will enter a default

judgment against RHS in the amount of $70,916.43, plus costs and post-judgment

interest.

                                 III. CONCLUSION

      For the foregoing reasons, the Court will grant Plaintiff’s Motion for Default

Judgment [341] and will enter a Default Judgment against RHS in the total amount

of $70,916.43, plus costs and post-judgment interest.

      IT IS, THEREFORE, ORDERED AND ADJUDGED, that Plaintiff’s

Motion [341] for Default Judgment is GRANTED. The Court will enter a separate

Default Judgment against Royal Hospitality Services, LLC.

      IT IS, FURTHER, ORDERED that a copy of this Order shall be mailed to

Defendant at its last known address of record, Royal Hospitality Services, LLC, 237

N. Peters, Suite 4, New Orleans, LA 70130.

      SO ORDERED AND ADJUDGED, this the 19th day of April 2016.


                                        s/ Halil Suleyman Ozerden
                                        HALIL SULEYMAN OZERDEN
                                        UNITED STATES DISTRICT JUDGE




                                          5
